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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE:                                       §
                                                 §
    XTRALIGHT MANUFACTURING,                     §        CASE NO. 18-31857
    LTD.,                                        §
                                                 §        Chapter 11
                      DEBTOR.                    §

                        AMENDED NOTICE OF TELEPHONIC HEARING

         Please take notice that the Court has set a telephonic hearing on each of the following

pleadings for May 8, 2018 at 4:30 p.m., before the Honorable Marvin Isgur, United States

Bankruptcy Court, Southern District of Texas, Courtroom 400, 515 Rusk, 4th Floor, Houston,

Texas 77002. DIAL IN NUMBER 1-712-775-8925.

    1. Debtor's Emergency Motion for Order (I) Authorizing Debtor to Furnish Cash Deposit for
       Adequate Assurance of Utility Service Under 11 U.S.C. § 366, and (II) Prohibiting Utility
       Companies from Discontinuing Services [Doc. No. 63];

    2. Debtor’s Emergency Motion to Pay Sales Representatives Commissions [Doc. No. 64];
       and,

    3. Debtor’s Emergency Motion to Pay Material Suppliers with Lien Rights [Doc. No. 67].

DATED: May 7, 2018




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                                   Respectfully submitted,

                                   HOOVER SLOVACEK LLP

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                                  CERTIFICATE OF SERVICE

       This certifies that on May 7, 2018, this Notice of Telephonic Hearing was served via the
Court’s electronic case filing notification system on the parties listed below:

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                                                                 /s/ Deirdre Carey Brown




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